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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                   *


vs.                                             *   Case No.: 22-15 APM


THOMAS E. CALDWELL                              *


        *     *      *       *      *       *       *     *      *        *       *
      CALDWELL’S NOTICE OF JOINDER AS TO ECF NO. 434, MOTION FOR NEW
              TRIAL, FILED BY CO-DEFENDANT KELLY MEGGS
.

        COMES NOW the defendant, Thomas E. Caldwell, by and through his attorney,

David W. Fischer, Esq., and hereby notifies the Court of his intention to join a Motion for

New Trial (ECF No. 434), which was previously filed by counsel on behalf of Kelly Meggs

and all co-defendants. The motion so filed, however, did not include undersigned counsel’s

signature. Accordingly, the purpose of this notice is to make clear that Caldwell joins the

Motion for New Trial as filed under ECF No. 434.

                                                    Respectfully Submitted,



                                                          /s/_____________________
                                                    David W. Fischer, Esq.
                                                    Federal Bar No. 023787
                                                    Law Offices of Fischer & Putzi, P.A.
                                                    Empire Towers, Suite #300
                                                    7310 Ritchie Highway
                                                    Glen Burnie, MD 21061
                                                    (410) 787-0826
                                                    Attorney for Defendant




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                              CERTFICATE OF SERVICE


       I HEREBY CERTIFY that on this 12th day of January, 2023, a copy of the foregoing
Notice of Joinder as to ECF No. 434 (Motion for New Trial) was electronically filed with the
Clerk of the United States District Court using CM/ECF, with a notice of said filing to the
following:



Counsel for the Government:               Office of the United States Attorney
                                          Kathryn Rakoczy, AUSA
                                          Jeffrey Nestler, AUSA
                                          Louis Manzo, AUSA
                                          Troy Edwards, AUSA
                                          Ahmed Baset, AUSA
                                          Alexandra Hughes, DOJ T.A. (NSD)
                                          Justin Sher, DOJ T.A. (NSD)
                                          555 4th Street, NW
                                          Washington, DC 20001


                                                      /s/_____________________
                                                 David W. Fischer, Esq.




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